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UNITED STATES DISTRICT COURT

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SOUTHERN DISTRICT OF FLORID Ce Oy
04-22634 Ss
OTAKORP, INC., : et
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Plaintiff, ee,

Civil Action No.

. Civ-HOEVELER
OTAKUCON, LLC, OTAKUCON, INC.,
D20, INC. and MARK SQUILLANTE,

Defendants.

Tx

COMPLAINT

Plaintiff, OTAKORP, INC. (“Otakorp”), by its attorneys, complaining of defendants
OTAKUCON, LLC., OTAKUCON, INC. and D20, INC. (collectively the “OtakuCon defendants’)
and defendant Mark Squillante, alleges as follows:

1. Plaintiff Otakorp, Inc. is a non-profit corporation organized and existing under the
laws of Pennsylvania and has its principal place of business at 620 Bishop Place, Northampton, PA
19067.

2. Upon information and belief, defendant Otakucon, LLC is a limited liability company
organized and existing under the laws of Florida and has its principal place of business at 10300 SW
724 Street, Suite 420, Miami, Florida 33173-3021. Upon information and belief, Otakucon, LLC is
doing business within this judicial district. |

3. Upon information and belief, defendant Otakucon, Inc. is a corporation organized and

existing under the laws of Florida and has its principal place of business at 10300 SW 72™ Street, We
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Suite 420, Miami, Florida 33173-3021. Upon information and belief, Otakucon, Inc. is doing
business within this judicial district.

4. Upon information and belief, defendant D20, Inc. is a corporation organized and
existing under the laws of Florida and has its principal place of business at 10300 SW 72™ Street,
Suite 410, Miami, Florida 33173-3021. Upon information and belief, D20, Inc. is doing business
within this judicial district.

5. Upon information and belief, defendant Mark Squillante is an individual who is the
President of D20, Inc. and OtakuCon, Inc., and the manager of OtakuCon, LLC, and who controls
and carries on the business of those companies (“‘Squillante”). On information and belief, defendant
Squillante is conducting business at 10300 SW 72" Street, Miami, Florida 33173-3021.

JURISDICTION AND VENUE

6. This is an action for service mark infringement under the Trademark Law of the
United States, §32(1) and §43(a) of the Lanham Act, 15 U.S.C. §1114(1) and §1125(a), and under
the common law and statutory unfair competition law of the State of Florida.

7. This Court has jurisdiction over this action for service mark infringement, pursuant to
15 U.S.C. §1121 and 28 U.S.C. §§ 1331, 1332(a) and 1338(a) and (b). Venue is proper in this
judicial district pursuant to 28 U.S.C. §§ 1391 (b) and (c). The amount in controversy exceeds the
sum or value of $75,000, exclusive of interest and costs.

FACTUAL BACKGROUND

8. Plaintiff has been engaged in the business of providing educational conferences in the

fields of Japanese/Asian animation, culture, comics, manga, art, music, video games and related
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graphics and audio visual expressions (“Convention Services”) since at least as early as 1994.
Otakorp advertises its services in many areas throughout the United States and on the internet, and its
services enjoy a nationwide reputation for quality.

9. At least as early as August 1, 1994, Otakorp adopted and first used the mark
OTAKON in connection with these Convention Services. Otakorp has marketed, sold and offered
for sale in interstate commerce its Convention Services under the mark OTAKON continuously since
August 1, 1994.

10. Since it began using the mark in 1994, Otakorp has enjoyed an outstanding reputation
for providing superior Convention Services. Otakorp’s OTAKON convention has received critical
acclaim and has attracted celebrity guests, whose attendance at Otakorp’s OTAKON convention
have been reported by the media.

11. Asaresult of Otakorp’s extensive promotional, marketing and sales efforts during
this period, the reputation of the OTAKON mark continuously has grown throughout the
convention/conference industry and among the general public and the mark now is well and
favorably known throughout the United States as a source of origin of Convention Services.

12. | The mark OTAKON is distinctive as applied to provision of Convention Services.

13. Otakorp duly registered the OTAKON service mark in the United States Patent and
Trademark Office, and Otakorp is now the owner of U.S. Trademark Registration No. 2,893,102,
registered October 12, 2004.

14. On information and belief, the OtakuCon defendants are involved in the provision of
educational conferences in the fields of Japanese/Asian animation, culture, comics, manga, art,
music, video games and related graphics and audio visual expressions in the United States and in this

Judicial District.
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15. On information and belief, the OtakuCon defendants have advertised, offered for sale
and sold in interstate commerce and within this Judicial District Convention Services under the mark
and name OTAKUCON without the authorization or consent of Otakorp. Specifically, the
OtakuCon defendants, under the control and at the direction of defendant Squillante, have organized,
advertised and offered for sale admission to an anime and Japanese culture convention in Miami
Beach named OtakuCon Miami Beach.

16. OnJune 1, 2004, Defendant Squillante filed an application on behalf of OtakuCon,
LLC for registration of the service mark OTAKUCON upon the Principal Register of the United
States Patent and Trademark Office, under Serial No. 78/428,316.

17. On information and belief, D20, Inc. is the registrant of the domain name
www.OtakuCon.com . On information and belief, the domain name was registered on behalf of
defendant D20, Inc. by defendant Squillante on November 7, 2003.

18. On information and belief, OtakuCon, LLC maintains and operates the
www.OtakuCon.com web site, which promotes and offers for sale the OtakuCon defendants’
OTAKUCON convention.

19 The mark OTAKUCON is confusingly similar in sight, sound and meaning to the
mark OTAKON.

20. Otakorp’s services and the OtakuCon defendants’ services are competitive services
advertised and sold in the same general channels of trade to similar classes of users. Therefore,
customers are likely to purchase the OtakuCon defendants’ unauthorized services believing that they

emanate from or are sponsored by or approved by Otakorp.
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21. On information and belief, OtakuCon adopted the OTAKUCON mark and name for
their Convention Services so that their services would be confused with Otakorp’s highly successful
OTAKON convention.

22. | Oninformation and belief, defendant Squillante is the actual decision maker for all of
the OtakuCon defendants, and is responsible for all of the wrongful acts of the OtakuCon defendants.

23. On or about August 20, 2004, and on several occasions thereafter, Otakorp sent
OtakuCon a letter demanding that it cease and desist using the service mark OTAKUCON in
connection with its Convention Services (“Cease and Desist Letter’).

24. On information and belief, as a result of the Cease and Desist Letter, OtakuCon has
had actual notice since at least August 20, 2004 that Otakorp has used the mark OTAKON in the
United States for Convention Services continuously since at least 1994.

25. The advertisement, offer for sale and sale by OtakuCon of unauthorized Convention
Services under the mark OTAKUCON is likely to cause confusion or mistake or deception of
purchasers as to the source or origin of the services.

26. | Oninformation and belief, the advertisement, offer for sale and sale by OtakuCon of
unauthorized Convention Services under the mark OTAKUCON actually has caused confusion or
mistake or deception of Otakorp’s customers as to the source or origin of OtakuCon’s services.

27. Because some purchasers are likely to purchase the unauthorized services offered by
OtakuCon under the OTAKUCON service mark believing they are Otakorp’s genuine services, and
because some purchasers are likely to refuse to do business with Otakorp because of some
misperceived relationship with OtakuCon, Otakorp will suffer a loss in sales to its detriment.

28. Otakorp has no control over the quality of the services sold and offered for sale by

OtakuCon. By selling and offering for sale its services, OtakuCon is attempting to subvert the right
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of Otakorp to control the quality of services sold under its service mark. The confusion as to source
engendered by OtakuCon leaves Otakorp’s valuable goodwill in its OTAKON service mark at the
mercy of OtakuCon.

29. Continued advertisement, sale and offer for sale of the unauthorized services by
OtakuCon has injured and will continue to injure the business reputation of Otakorp.

30. The infringement by OtakuCon has been willful and deliberate, designed specifically
to trade upon the goodwill associated with Otakorp’s service mark OTAKON in the United States.

31. The goodwill of Otakorp’s business as exemplified by its OTAKON service mark is
of enormous value, and Otakorp is suffering and will continue to suffer irreparable harm should
OtakuCon’s infringing acts be permitted to continue.

AS AND FOR A FIRST CLAIM FOR RELIEF FOR
INFRINGEMENT OF FEDERALLY REGISTERED TRADEMARK

32. Plaintiff repeats and realleges the allegations set forth in paragraphs 1 through 31,
above, as though fully set forth herein.

33. This cause of action arises under Section 32(1)(a) of the Lanham Act, 15 U.S.C.
§1114(1)(a).

34. | Defendants, without the consent of plaintiff have used and are using in interstate
commerce a reproduction, counterfeit, copy or colorable imitation of Otakorp’s registered mark
OTAKON in connection with the sale, offering for sale, distribution and advertising of services in a
manner likely to cause confusion, mistake or deception, in violation of 15 U.S.C. §1114(1).

35. Defendants’ infringement has been willful and deliberate, designed specifically to
trade upon the enormous good will associated with plaintiff's registered trademarks.

36. Plaintiff has been as is being injured by such trademark infringement and damage will

continue unless defendants’ acts are enjoined by this court. Plaintiff has no adequate remedy at law.

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AS AND FOR A SECOND CLAIM FOR RELIEF FOR
FEDERAL UNFAIR COMPETITION

37. Plaintiff repeats and realleges the allegations set forth in paragraphs 1 through 36
above, as though fully set forth herein.

38. This cause of action arises under Section 43(a) of the Lanham Act, 15 U.S.C.
§1125(a).

39. Defendants’ unauthorized use in commerce of the OTAKUCON mark for Convention
Services is causing and is likely to cause confusion, mistake or deception of purchasers and potential
purchasers as to the source, origin, sponsorship or approval of defendants’ services by plaintiff.

40. Defendants will continue to infringe upon plaintiff's rights unless enjoined by this
Court. Plaintiff has no adequate remedy at law.

AS AND FOR A THIRD CLAIM FOR RELIEF FOR
INJURY TO BUSINESS REPUTATION

41. Plaintiff repeats and realleges the allegations set forth in paragraphs 1 through 40
above, as though fully set forth herein.

42. This cause of action arises under the statutory law of the State of Florida, F.S.A.
§495.151.

43. Defendants are offering for sale, selling and advertising the provision of conferences
in the fields of Japanese/Asian animation, culture, comics, manga, art, music, video games and
related graphics and audio visual expressions in association with the mark OTAKUCON and the
trade names OtakuCon, Inc. and OtakuCon, LLC.

44. By the acts alleged above, defendants have created a likelihood of injury to plaintiff's
business reputation and dilution of the distinctive quality of plaintiff's long used and famous mark

OTAKON.
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45. Defendants will continue to impair plaintiff's rights unless enjoined by this Court.
Plaintiff has no adequate remedy at law.

AS AND FOR A FOURTH CLAIM FOR RELIEF FOR
COMMON LAW TRADEMARK INFRINGEMENT

46. Plaintiff repeats and realleges the allegations set forth in paragraphs 1 through 45
above, as though fully set forth herein.

47. This cause of action arises under Florida common law.

48. Defendants, by their acts, have unfairly competed with plaintiff and have infringed
plaintiff's common law rights in the mark OTAKON for Convention Services, in violation of the
common law of the State of Florida.

49. Plaintiff has been and is being damaged by such acts, and damage will continue
unless defendants’ acts are enjoined by this Court. Plaintiff has no adequate remedy at law.

AS AND FOR A FIFTH CLAIM FOR RELIEF FOR
COMMON LAW UNFAIR COMPETITION

50. Plaintiff repeats and realleges the allegations set forth in paragraphs | through 49
above, as though fully set forth herein.

51. Defendants’ mark OTAKUCON, is so deceptively similar to plaintiff's mark that
ordinary purchasers using ordinary care are likely to be deceived or confused as to the source or
origin of defendants’ goods and services and as to the existence of a relationship or association
between plaintiff and defendants.

52. Defendants are offering for sale, selling and advertising services using a colorable
imitation of plaintiff's OTAKON mark in a manner such as to pass off their services as those of

plaintiff.
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53. By the acts alleged above, defendants have impaired plaintiff's goodwill and have
otherwise adversely affected plaintiff's business by the use of unfair and improper business practices,
in violation of the common law of unfair competition of the State of Florida.

54. Plaintiff has been and is being damaged by such acts, and damage will continue
unless defendants’ acts are enjoined by this Court. Plaintiff has no adequate remedy at law.

WHEREFORE, plaintiff demands the following relief:

(a) An order preliminary and permanent enjoining defendants, as well as their officers,
directors, agents, employees and servants and any persons acting in concert or participation with
them:

1. from providing educational conferences in the fields of Japanese/Asian
animation, culture, comics, manga, art, music, video games and related graphics and audio visual
expressions under the marks OTAKON, OTAKUCON or any colorable variations thereof or any
confusingly similar marks.

2. from representing that defendants’ services are affiliated with, related to, or
sponsored by plaintiff or suggesting any connection with plaintiff;

3. from committing any acts which are likely to injure plaintiff's business
reputation; and

4. from unfairly competing with plaintiff.

(b) Ordering defendants to pay their profits to plaintiff and any damages sustained by
plaintiff as a result of defendants’ acts, pursuant to 15 U.S.C. §1117(a), or any other damages
recoverable under any other statute alleged in this Complaint;

(c) Ordering defendants to pay to plaintiff three times the amount of plaintiff's actual

damages due to the exceptional circumstances of this case, pursuant to 15 U.S.C. §1117(b);
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(d) Ordering that all materials and merchandise bearing the mark OTAKUCON be
destroyed pursuant to 15 U.S.C. §1118;

(e) Awarding plaintiff its attorneys’ fees and costs against defendants because of the
exceptional nature of this case, pursuant to 15 U.S.C. §1117(a); and

(f) Granting such other and further relief as this Court deems just and proper.

Dated: Octoberh9, 2004 SEE ’ Mager

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JS 44
(Rev. 12/96)

1.(a) PLAINTIFFS
OTAKORP,

INC.

CIVIL COVER SH

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other | Papers as required
by jaw, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required fcr the use
of the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

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VI. CAUSE OF ACTION

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& Sec.
(Defs have infringed upon Pl's service mark in violation

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CHECK YES only if demanded in complaint:
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Vii. RELATED CASE(S) (See instructions):

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